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                         UNITED STATES DISTRICT COURT
 6
                        FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA                        No. 2:15-CR-0069-RMP-1
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                       Plaintiff,                 ORDER DENYING DEFENDANT’S
10                                                MOTION FOR RECONSIDERATION
11 vs.
12 JOSE BEATRIZ MARTINEZ
13 ROBLES,
14
                       Defendant.
15
16         Defendant is before the Court regarding his pretrial detention, which was
17   ordered following a bail hearing held July 15, 2015. ECF No. 58.
18         Defendant now asks the Court to reconsider pretrial release in light of
19   United States v. Santos-Flores, 794 F.3d 1088 (9th Cir. 2015), decided
20   approximately one week after Defendant was ordered detained.
21         This Court has considered the holding in Santos-Flores; as well as 18 U.S.C.
22   § 3142; the Pretrial Services Report, ECF No. 35; the Order Granting the United
23   States’ Motion for Detention entered by Magistrate Judge Hutton, ECF No. 58;
24   Defendant’s Motion and Memorandum in support of reconsideration, ECF No. 85;
25   and the United States Response in opposition, ECF No. 87.
26         The cited case holds that the fact of a defendant’s illegal entry into the
27   United States, or the probability of formal deportation proceedings, cited by the
28   district judge in granting the motion for detention of Flores-Santos, are not

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 1   statutory factors in pretrial release deliberations. Nevertheless, the 9th Circuit
 2   affirmed the order of detention because the district judge determined that Santos-
 3   Flores was a flight risk on alternative grounds, including defendant’s failure to
 4   appear for state court hearings, possession of fraudulent identity documents, and
 5   the severity of the potential punishment as a motivation for flight.
 6         This case is similar to the situation in the Santos-Flores case, and compels a
 7   similar result. In granting the United States’ Motion for Detention in this case,
 8   Judge Hutton noted that, “this Court has never categorically denied a Defendant
 9   bail solely based upon immigration status ….” ECF No. 58 at 2. In addition,
10   Judge Hutton found that Defendant is facing a potentially severe sentence, and has
11   been equivocal, if not duplicitous, regarding his true identity in both this case and
12   past encounters with law enforcement. The bail report also notes that in the past,
13   Defendant has failed to appear for court or comply with a court’s sentencing
14   orders.
15         For these reasons, Defendant’s Motion for reconsideration, ECF No. 85, is
16   DENIED.
17         DATED October 15, 2015.
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19                                _____________________________________
                                            JOHN T. RODGERS
20                                 UNITED STATES MAGISTRATE JUDGE
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